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                                                                                    The Court acknowledges
                             UNITED STATES DISTRICT COURT                           the Stipulation of
                             SOUTHERN DISTRICT OF INDIANA                           Dismissal, dkt. 36. The
                                 INDIANAPOLIS DIVISION                              Clerk is DIRECTED to
                                                                                    dismiss ONLY Shelly
BARBARA TULLY, KATHARINE BLACK,                       )                             Brown, Janice Johnson,
MARC BLACK, SHELLY BROWN,                             )                             and Katherine Paolacci
DAVID CARTER, REBECCA GAINES,                         )                             from the docket.
JANICE JOHNSON, ELIZABETH KMIECIAK,                   )                             JPH, 7/21/2020
CHAQUITTA MCCREARY,                                   )                             Distribution via ECF.
KATHERINE PAOLACCI, DAVID SLIVKA,                     )
DOMINIC TUMMINELLO, and                               )
INDIANA VOTE BY MAIL, INC., individually,             )
 and on behalf of those similarly situated,           )
                                                      )
                         Plaintiffs,                  )
                                                      )
                 -vs-                                 )   Case No. 1:20-cv-01271-JPH-DLP
                                                      )
PAUL OKESON, S. ANTHONY LONG,                         )
SUZANNAH WILSON OVERHOLT, and                         )
ZACHARY E. KLUTZ, in their official                   )
capacity as members of the Indiana                    )
Election Commission, and                              )
CONNIE LAWSON, in her official                        )
capacity as the Indiana Secretary of State,           )
                                                      )
                         Defendants.                  )

STIPULATION OF DISMISSAL OF PLAINTIFFS SHELLY BROWN, JANICE JOHNSON,
                   AND KATHERINE PAOLACCI ONLY

        Plaintiffs, Barbara Tully, Katharine Black, Marc Black, Shelly Brown, David Carter, Rebecca Gaines,

Janice Johnson, Elizabeth Kmieciak, Chaquitta McCreary, Katherine Paolacci, David Slivka, Dominic

Tumminello, and Indiana Vote By Mail, Inc., and Defendants, Paul Okeson, S. Anthony Long, Suzannah

Wilson Overholt, Zachary E. Klutz, and Connie Lawson, by respective counsel, now file their stipulation of

dismissal of Plaintiffs Shelly Brown, Janice Johnson, and Katherine Paolacci only, without prejudice, pursuant

to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, each party bearing their own costs and attorney

fees.
